Case 1:21-mc-00640-GHW-JLC Document 5-1 Filed 08/05/21 Page 1 of 4

EXHIBIT 1
Case 1:21-mc-00640-GHW-JLC Document 5-1 Filed 08/05/21 Page 2 of 4

CHAT — MAMI E FILHOS (EXHIBIT 1)

09/04/19 14:49:34

  
 

 

[09/04/19 14:49:50]
09/04/19 14:50:13

 
   
    
 

[09/04/19 14:50:19]
[09/04/19 14:50:35]

12/04/19 10:17:47

 
 
  

 

   

[12/04/19 10:18:00]
[12/04/19 10:18:08]
12/04/19 10:18:31

    
 
 

[12/04/19 10:18:39]

 
  
 

b>

13/04/19 10:29:41

[13/04/19 10:30:08]
13/04/19 10:30:52

(020519 12:27 05 rrr

07/05/19 09:03:30

260719 07 +4: rrr
Case 1:21-mc-00640-GHW-JLC Document 5-1 Filed 08/05/21 Page 3 of 4

01/08/19 11:01:16

   
   

[01/08/19 11:01:32]

 

[15/08/19 07:35:44]
[15/08/19 07:36:01]

[16/08/19 14:22:13]
[16/08/19 14:22:28]
[16/08/19 14:22:48]
[16/08/19 14:22:58]
[16/08/19 14:23:08]

[26/08/19 10:41:23]
[26/08/19 12:03:09]
[26/08/19 12:03:25]
[26/08/19 12:05:20]
[26/08/19 12:21:10]

 

27/08/19 08:15:36

 
Case 1:21-mc-00640-GHW-JLC Document 5-1 Filed 08/05/21 Page 4 of 4

2 2

[02/09/19 20:42:51]
[02/09/19 20:43:07]

15/09/19 20:31:20

 

   
    
 

[15/09/19 20:31:29]

| 15/09/19 20:31:49]

[16/09/19 12:40:14]
[16/09/19 13:09:00]
16/09/19 13:49:46]

 

 

[16/09/19 13:49:51]
16/09/19 13:50:32

 
   
    
 
 
 
 

[16/09/19 13:50:48]
[16/09/19 13:50:50]
[16/09/19 13:51:04]
[16/09/19 13:51:23]
[16/09/19 13:52:18]
16/09/19 13:53:11]

16/09/19 13:53:50

16/09/19 14:25:32

  
 
 

  
 
     
 
    
 
 
 

[16/09/19 14:25:32]
[16/09/19 14:25:32]
16/09/19 14:41:18

[16/09/19 14:45:20]
16/09/19 14:45:47

  

[16/09/19 14:45:56]
[16/09/19 14:46:06]
